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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


SANDRA FRANKLIN
                                                        CIVIL CASE NO.: 8:20-CV-0038-RFR
                        Plaintiff,

        vs.                                             JOINT STIPULATION OF DISMISSAL
                                                        WITH PREJUDICE
M.N.G., INC.,


                        Defendant.




       The Plaintiff, Sandra Franklin, and Defendant, M.N.G, by and through the undersigned
counsel, hereby file with the Court this Joint Stipulation of Dismissal With Prejudice. Except as
set forth in the settlement agreement, all parties shall bear their own attorneys’ fees and costs.
       Respectfully submitted this the 6th day of July, 2020.



s/ Edward I. Zwilling                                      s/ Scott P. Moore
Edward I. Zwilling, Esq.                                   Scott P. Moore
Law Office of Edward I. Zwilling, LLC4000                  Baird Holm LLP
Eagle Point Corporate Dr.                                  1700 Farnam Street
Birmingham, Alabama, 35242                                 Suite 1500
Telephone: (205) 822-2701                                  Omaha, NE 68102
Email: edwardzwilling@zwillinglaw.com                      Telephone: 402-344-0500
ATTORNEY FOR PLAINTIFF                                     Email: spmoore@bairdholm.com
                                                           ATTORNEY FOR DEFENDANT




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